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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                                  ABINGDON DIVISION


UNITED STATES OF AMERICA

                                                            Case No.   1:22CR15

MICHAEL AARON SELVIDGE


                                      PLEA AGREEMENT

         I
         have agreed to enter into a plea agreement with the United States of America.
pursuant to Rule I I of the Federal Rules of Criminal Procedure. The terms and conditions
of this agreement are as follows:

A. CHARGE(S) TO WHICH                  I   AM PLEADING GUILTY AND WAIVER OF
   RIGHTS

   l.    The Char es and Potential Punishment

       My attorney has informed me of the nature of the charge(s) and the elements of the
charge(s) that must be proved by the tJnited States beyond a reasonable doubt before I
could be fbund guilty as charged.

         I agree to plead guilty to an Inlbrmation, which is a charge brought by the United
States   Attomey as opposed to one retumed by a Grand Jury. I am waivin-q and giving up
my right to be charged by Indictrnent and have a Grand Jury vote on my probable guilt.

         I will enter a plea olguilty to Count I of the Inlorrnation.

         Count   I   charges me with assault on a f'ederal employee. in violation   of l8
                                                                                   U.S.C.
$$ l l l(aXl) and (b). The maximum statutory penalty is a fine of $250,000 and/or
imprisonment for a term of trventy years. plus a term ofsupervised release olthree years.

      I understand restitution may be ordered. my assets may be subject to fbrfeiture. and
fees may be imposed to pay fbr incarceration. supervised release. and costs ofprosecution.




                                   Defendant's Initials:

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In addition, a $100 special assessment, pursuant to l8 U.S.C. g 3013. will be imposed per
felony count ofconviction. I further understand my supervised release may be revoked if
I violate its terms and conditions. I understand a violation of supervised release increases
the possible period of incarceration.

        I am pleading guilty   as described above because I am in fact guilty and because I
believe it is in my best interest to do so and not because of any threats or promises. There
has been no promise made whatsoever by anyone as to what the final disposition of this
matter will be.

   2.   Waiver of Constitu(ional Riehts Upon a Ple

       I acknowledge I have had all of my rights explained to me and I expressly recognize
I have the following constitutional rights and. by voluntarily pleading guilty. I knowingly
waive and give up these valuable constitutional rights:

        a.    The right   to plead not guilty and persist in that plea:
        b.    The right   to a speedy and publicjury triall
        c.    The right   to assistance ofcounsel at that trial and in any subsequent appeal:
        d.    The right   to remain silent at trial:
        e.    The right   to testily at trial:
        f.    The right   to confront and cross-examine witnesses called by the govemmentl
        g.    The right   to present evidence and witnesses in my own behalf;
        h.    The right   to compulsory process ofthe court;
         i.   The right   to compel the attendance ofrvitnesses at trial;
        j.    The right   to be presumed innocentl
        k.    The right   to a unanimous guilty verdict: and
        l.    The right   to appeal a guilty verdict.

B. SENTENCING PROVTSIONS

   l.   General Matters

        Iunderstand the determination of what sentence should be imposed. within the
confines of any applicable statutory minimums and maximums. is in the sole discretion ol
the Court subject to its consideration ol the United States Sentencing Guidelines
("guidelines" or "U.S.S.G.") and the fbctors set forth at l8 U.S.C. $ 3553(a). I understand
I will have an opportunity to review a copy of my presentence report in advance olmy
sentencing hearing and may file objections, as appropriate. I will have an opportunity at



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my sentencing hearing to present evidence, bring witnesses. cross-examine any witnesses
the government calls to testily. and argue to the Court what an appropriate sentence should
be within the confines of the terms o[this agreement.

        I understand I will not be eligible fbr parole during any term of imprisonment
imposed.    I understand the Court is not bound by any recommendation or stipulation
contained in this agreement and may sentence me up to the statutory maximum. I
understand I will not be allowed to withdraw my plea of guilty if the Court disregards the
stipulations and/or recommendations set forth in the plea agreement.

       I understand if the sentence is more severe than I expected, I will have no right to
withdraw my plea. I have discussed sentencing issues with my attorney and realize there
is a substantial likelihood I will be incarcerated.

   2.   SentencingGuidelines

     I stipulate and agree that all matters pertaining to any of the counts of the charging
document(s), including any dismissed counts. are relevant conduct lbr purposes of
sentencing.

        The parties agree the 2021 edition    ol the United  States Sentencing Guidelines
Manual applies to any guidelines calculation made pertaining to my oftbnse(s). I stipulate
that the following guideline section(s) are applicable to my conduct:

                   242.4(a)      IO   base offbnse level
                   2A2.4(b)   +3      offense involving physical contact
                   242.4(c)   +2      offense involving bodily iniury

      The United States stipulates that the guideline section(s) set forth in this section
should apply to my conduct.

        I understand other guideline sections may be applicable to my case and the United
States and I will be liee to argue whether these sections should or should not apply; to the
extent the arguments are not inconsistent with the stipulations. recommendations and terms
set forth in this plea agreement.

        I agree not to seek a sentence outside ofthe applicable guideline range.

        The United States agrees to recommend a sentence within the applicable guideline



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rangc.

         agree to accept responsibility for my conduct. If I comply rvith my obligations
         I
under this plea agreement and accept responsibility fbr my conduct, the United States will
recommend the Court grant me a trvo-level reduction in my offense level. pursuant to
U.S.S.G. $ 3El.l(a) and, if applicable. at sentencing, rvill move that I receive a one-level
reduction in my offense level, pursuant to U.S.S.G. $ 3E I .1(b). fbr purposes of any
guidelines calculation. However, I stipulate that if I lail to accept responsibility tbr my
conduct or fail to comply with any provision of this plea agreement. I should not receive
credit for acceptance of responsibility. In addition. I understand and agree the United
States will have a continuing ob.jection to me receiving credit fbr acceptance of
responsibility until I have testified truthfully at my sentencing hearing, if called upon to
testily. I agree the United States will not be required to make any other notice ol its
objection on this basis.

       I agree that any period of incarceration rendered pursuant to this agreement u'ill be
served consecutively to any period ol incarceration rendered in my pending t-ederal case.
2:20-cr-0001 I (W.D. Va.).

   3.    SubstantialAssistance

       I understand the United States retains all of its rights pursuant to Fed. R. Crim. P.
35(b), U.S.S.G. $ 5K1.1 and l8 U.S.C. $ 3553(e). I understand even if I tully cooperate
with law enforcement, the United States is under no obligation to make a motion fbr the
reduction of my sentence. I understand if the United States makes a motion lor a reduction
in my sentence, the Court, after hearing the evidence, will determine how much of a
departure, if any, I should be given. THIS PROVISION IS DESIGNED TO PROTECT
THE LINITED STATES AND IS INCLUDED IN PLEA AGREEMENTS IN THE
WESTERN DISTRICT OF VIRGINIA EVEN IF A DEFENDANT IS NOT
COOPERATING.

   4. MonetaryOblisations
         a.   Special Assessments, Fines and Restitution

         I
         understand persons convicted of crimes are required to pay a mandatory
assessment  of $100.00 per t'elony count of conviction. I agree I will submit to the U.S.
Clerk's Office. a certified check, money order. or attomey's trust check. made payable to
the "Clerk, U.S. District Court" for the total amount due for mandatory assessments prior



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to entering my plea of guilty.

         I agree to pay restitution for the entire scope ofmy criminal conduct. including. but
not limited to, all matters included as relevant conduct. In addition. I agree to pay any
restitution required by law. including, but not limited to. amounts due pursuant to l8 USC
ti6 2259, 3663, andlor 3663A. I understand and agree a requirement I pay restitution for
all of the above-stated matters will be imposed upon me as part of any final judgment in
this matter.

       I  further agree to make good fhith eftbrts toward payment of all mandatory
assessments, restitution and fines. with whatever means I have at my disposal. I agree
fhilure to do so will constitute a violation of this agreement. I will execute any documents
necessary to release the funds I have in any repository. bank, investment. other financial
institution, or any other location in order to make partial or total payment toward the
mandatory assessments, restitution and lines imposed in my case.

       I fully understand restitution and tbrfeiture are separate financial obligations which
may be imposed upon a criminal defendant. I further understand there is a process within
the Department of Justice whereby. in certain circumstances, forfeited funds may be
applied to restitution obligations. I understand no one has made any promises to me that
such a process will result in a decrease in my restitution obligations in this case.

         I understand and agree, pursuant to 18 U.S.C. $$ 3613 and 3664(m), whatever
 monetary penalties are imposed by the Court will be (i) due immediately and subject to
 immediate enforcement by the United States as provided for by l8 U.S.C. $ 3613. and (ii)
 submitted to the Treasury OfTset Program so that any federal payment or transler of
 retumed property to the defendant may be offset and applied to federal debts but will not
 affect the periodic payment schedule. I further understand ifthe Court imposes a schedule
 of payments. that schedule is only a minimum schedule of payments and not the only
 method, nor a limitation on the methods, available to the United States to entbrce the
judgment.

       I agree to grant the United States a rvage assignment. liquidate assets. or complete
any other tasks which will result in immediate payment in f'ull, or payment in the shortest
time in which full payment can be reasonably made as required under l8 U.S.C. li 3572(d).

       I expressly authorize the United States Attomey's Otfice to obtain a credit report on
me in order to evaluate my ability to satisfy any financial obligation imposed by the Court.




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       I agree the following provisions. or words of similar ettect, should be included as
conditions of probation and/or supervised release: (l) "The defbndant shall notifl" the
Financial Litigation Unit. United States Attomey's Office, in writing, of any interest in
property obtained, directly or indirectly. including any interest obtained under any other
name, or entity. including a trust. partnership or corporation after the execution of this
agreement until all fines, restitution. money judgments and monetary assessments are paid
in full" and (2) "The Defendant shall notifu the Financial Litigation Unit, United States
Attomey's Office. in writing, at least 30 days prior to transferring any interest in property
owned directly or indirectly by Defendant. including any interest held or owned under any
other name or entity, including trusts. partnership and/or corporations until all fines.
restitution, money judgments and monetary assessments are paid in fu11."

       The parties   will  also jointly recommend that as a condition of probation or
supervised release, Defendant rvill notifu the Financial Litigation Unit. United States
Attorney's Office. before Defendant transfers any interest in property owned directly or
indirectly by Defendant, including any interest held or owned under any other name or
entity, including trusts, partnership and/or corporations. See l8 U.S.C. $ 366a(k). (n).

       Regardless of whether or not the Court specitically directs participation or imposes
a schedule of payments. I agree to fully participate in inmatc employment under any
available or recommended programs operated by the Bureau of Prisons.

        I agree any payments made by me shall be applied fully to the non-joint and several
portion of my outstanding restitution balance until the non-joint and several portion of
restitution is paid in full, unless the Court determines that to do so would cause a hardship
to a victim of the offense(s).

       b. Duty to Make Financial      Disclosures

       I understand in this case there is a possibility substantial fines and/or restitution may
be imposed. In order to assist the United States as to any recommendation and in any
necessary collection ofthose sums. I agree, ifrequested by the United States, to provide a
complete and truthful financial statement to the United States Attorney's Oflice, within 30
days ofthe request or 3 days prior to sentencing. whichever is earlier. detailing all income.
expenditures, assets, liabilities. gifts and conveyances by myself. my spouse and my
dependent children and any corporation. partnership or other entity in which I hold or have
held an interest, for the period starting on January lst of the year prior to the year my
oflense began and continuing through the date ofthe statement. This financial statement
shall be submitted in a form acceptable to the United States Attorney's office.


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       From the time of the signing of this agreement or the date I sign the flnancial
statement. whichever is earlier, I agree not to convey anything of value to any person
without the authorization of the United States Attorney's Of-fice.

        c.   Understanding of Collection Matters

        I understand:

        l.   as part of the judgment in this case I will be ordered to pay one or more monetary
             obligations;
        2.   payment should be made as ordered by the Court;
        3.   I must mail payments. by cashier's check or money order, payable to the "Clerk,
             U.S. District Court" to: 210 Franklin Road, S.W., Suite 540, Roanoke, Virginia
             24011; and include my name and court number on the check or money order;
        4.   interest (unless waived by the Court) and penalties must be imposed for late or
             missed payments;
        5.   the United States may file liens on my real and personal property that will remain
             in place until monetary obligations are paid in full, or until liens expire (the later
             of20 years from date ofsentencing or release from incarceration);
        6.   ifI retain counsel to represent me regarding the United States' efforts to collect
             any of my monetary obligations, I will immediately notifl the United States
             Attorney's Office. ATTN: Financial Litigation Unit. P.O. Box 1709, Roanoke.
             Virginia 24008-1709, in writing. of the fact of my legal representation; and
        7.   l, or my attomey if an attorney will represent me regarding collection of
             monetary obligations. can contact the U.S. Attomey's Office's Financial
             Litigation Unit at 5401857 -2259 .

C. ADDITIONAL MATTERS

   l.   Waiver of Presence of Counsel

        I
        understand my attorney may be present at any contact with any government
personnel. However, by my signature below, I expressly waive the presence ofcounsel
during such contacts and agree govemment personnel may contact me without the prior
approval of my attomey. At any time during such contacts u'ith government personnel. I
may request the presence of my attorney and the contact will be suspended until my
attomey arrives or indicates that the contact may continue.




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    2. Waiver of Rieht       to Anpeal

         Knowing that    have a right ol direct appeal of my sentence under l8 LI.S.C. $
                         I
 37 42(a) and the grounds listed therein. I expressly rvaive the right to appeal my sentence
 on those grounds or on any ground. In addition. I hereby waive my right ofappeal as to
 any and all other issues in this matter and agree I will not file a notice of appeal. I am
 knowingly and voluntarily waiving any right to appeal. By signing this agreement. I am
explicitly and irrevocably directing my attorney not to lile a notice of appeal.
Nolwithslanding any olher language to lhe conlrary, I om not waiving my righl to appeal
or to have my attorney file o nolice of appeal, as lo ony issue which cannol be waived, by
/aw. I understand the United States expressly reserves all of its rights to appeal. I agree
and understand if I file any court document (except for an appeal based on an issue
that cannot be waived, by law, or a collateral attack based on ineffective assistance of
counsel) seeking to disturb, in any way, any order imposed in my case such action
shall constitute a failure to comply with a provision of this agreement.

    3.   Waiver of Ris ht to Collaterally Attack

         I waive any right I may have to collaterally attack. in any tuture proceeding.   any
order issued in this matter. unless such attack is based on ineff'ective assistance ofcounsel.
and agree I will not file any document which seeks to disturb any such order. unless such
filing is based on inetl'ective assistance ofcounsel. I agree and understand that if I file
any court document (except for an appeal based on an issue not otherwise waived in
this agreement; an appeal based on an issue that cannot be waived, by law; or a
collateral attack based on ineffective assistance of counsel) seeking to disturb, in any
way, any order imposed in my case, such action shall constitute a failure to comply
with a provision of this agreement.

    4. Information     Access Waiver

       I knowingly and voluntarily agree to waive all rights. whether asserted directly or
by a representative, to request or receive Aom any department or agency of the United
States any records pertaining to the investigation or prosecution of this case. including
without limitation any records that may be sought under the Freedom of Information Act,
5 U.S.C. $552, or the Privacy Act of 1974, 5 U.S.C. $552a.

    5. Waiver     of Witness Fee

         I agree to waive all rights. claims or interest in any rvitness t'ee I mal'be eligible to



                                 Defendont's Initials:

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receive pursuant to 28 U.S.C.       $   I 82   l,   for my appearance at any Grand Jury, witness
conference or court proceeding.

    6. Abandonment       of Seized Items

        By signing this plea agreement. I hereby abandon my interest in. and consent to the
official use, destruction or other disposition ofeach item obtained by any law enfbrcement
agency during the course ofthe investigation. unless such item is specifically provided for
in another provision of this plea agreement. I fi.rrther waive any and all notice ol any
proceeding to implement the olficial use, destruction. abandonment, or other disposition of
such items.

    7. Deportation
        I understand ifl am not a citizen ofthe United States, or ifl am a naturalized citizen,
pleading guilty may have consequences with respect to my irnmigration status including,
but not limited to, deportation from the United States. denial of United States citizenship.
denial of admission to the United States in the future. or denaturalization. I expressly
recognize under federal law, conviction for a broad range of crimes can lead to adverse
immigration consequences including, but not limited to, automatic removal flom the
United States, and that no one, including my attorney or the Court. can predict with
certainty the effect of a conviction on my immigration status. I am not relying on any
promise or belief about the immigration consequences of pleading guilty. I want to plead
guilty regardless of any potential immigration consequences.

   8.   Denial of Federal Benefits

        At the discretion ofthe court. I understand I may also be denied any or all       t-ederal
benefits. as that teffn is defined in   2l
                                        U.S.C. $ 862. (a) lor up to five years if this is my first
conviction of a federal or state offense consisting of the distribution of controlled
substances, or up to one year if this is my first conviction of a federal or state ot'tense
involving the possession ofa controlled substancel or (b) for up to ten years if this is my
second conviction ofa federal or state offense consisting of the distribution ofcontrolled
substances, or up to five years if this is my second or more conviction of a federal or state
offense involving the possession of a controlled substance. If this is my third or more
conviction of a federal or state offense consisting of the distribution of controlled
substances. I understand I could be permanently ineligible for all lederal benefits. as that
term is defined in 2l U.S.C. $ 862(d).




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    9. Admissibilifi of Statements
           I
          understand any statements I make (including this plea agreement, and my
 admission ofguilt) during or in preparation tbr any guilty plea hearing, sentencing hearing.
 or other hearing and any statements I make or have made to law enfbrcement agents. in
 any setting (including during a proffer). may be used against me in this or any other
 proceeding. I knowingly waive any right I may have under the Constitution. any statute.
 rule or other source of law to have such statements, or evidence derived from such
 statements, suppressed or excluded from being admitted into evidence and stipulate that
 such statements can be admitted into evidence.

    I 0.   Additional Oblieations

        I agree to cooperate fully with law enlbrcement agents and will disclose to them. at
 any time requested by them. my knowledge of any criminal activity. I agree I will testily
 truthfully. I hereby waive any right I may have to refuse to answer any questions. I agree
 to be debriefed by law enforcement agents conceming any matter. I understand it is a
 felony offense to make false statements to law entbrcement agents or to testifo falsely.

           I agree not to commit any of the following acts:

               .   attempt to withdraw my guilty plea;
               .   deny I commifted any crime to which I have pled guilty;
               o   make or adopt any arguments or objections to the presentence report that are
                   inconsistent with this plea agreemenU
               o   obstruct justice;
               .   fail to comply with any provision of this plea agreemenu
               .   commit any other crime:
               o   make a false statement;
               .   fail to enter my plea of guilty when scheduled to do so, unless a continuance
                   is agreed to by the United States Attomey's Office and granted by the Court:
               o   fail to testifu truthfully, as to any matter, if called upon to do so (at my
                   sentencing hearing or any other proceeding);
               .   relirse to answer any questionl
               .   fail to comply with any reasonable request of the United States Attorney's
                   Office; or
               o   fail to cooperate with law enforcement agents.

 D. REMEDIES AVAILABLE TO THE UNITED STATES

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         I hereby stipulate and agree that the United States Attomey's of'fice may, at its
 election, pursue any or all of the tbllowing remedies if I fail to comply with any provision
 of this agreement: (a) declare this plea agreement void: (b) refuse to dismiss any charges;
 (c) reinstate any dismissed charges: (d) file new chargesl (e) withdraw any substantial
 assistance motion made, regardless of whether substantial assistance has been performed;
 (f) refuse to abide by any provision. stipulations. and/or recommendations contained in this
 plea agreement; or (g) take any other action provided for under this agreement or by statute,
 regulation or court rule.

         In addition, I agree if, for any reason. my conviction is set aside. or I fail to comply
 with any obligation under the plea agreement. the United States may file, by indictment or
 information. any charges against me rvhich were flled and/or could have been filed
 concerning the matters involved in the instant investigation. I hereby waive my right under
 Federal Rule of Criminal Procedure 7 to be proceeded against by indictment and consent
 to the filing ol'an inlormation againsl me concerning any such charges. I also hereby waive
 any statute of limitations defense as to any such charges.

        The remedies set forth above are cumulative and not mutually exclusive. The
 United States' election ofany ofthese remedies. other than declaring this plea agreement
 void, does not. in any way, terminate my obligation to comply with the terms of the plea
 agreement. The use of "il'in this section does not mean "il, and only il."

 E. GENERAL PROVISIONS

    l,   Limitation of Asreement

         This agreement only binds the United States Attomey's Office fbr the Western
 District of Virginia. It does not bind any state or local prosecutor, other United States
 Attomey's Office or other office or agency of the United States Covemment, including,
 but not limited to, the Tax Division of the United States Department of Justice, or the
 Intemal Revenue Service of the United States Department of the Treasury. These
 individuals and agencies remain free to prosecute me for any offense(s) committed within
 their respective jurisdictions.

    2.   Effect of Mv Sisnature

         Iunderstand my signature on this agreement constitutes a binding oflbr by me to
 enter into this agreement. I understand the United States has not accepted my offbr until it



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 signs the agreement.

    3.   Effective Representation

         I have discussed the terms olthe tbregoing plea agreement and all matters pertaining
 to the charges against me with my attorney and am fully satisfied with my attomey and my
 attorney's advice. At this time, I have no dissatisfaction or complaint with my attorney's
 representation. I agree to make known to the Court no later than at the time ofsentencing
 any dissatisfaction or complaint I may have with my attomey's representation.

    4. Misconduct
         If Ihave any information concerning any conduct of any govemment attorney,
 agent, employee, or contractor which could be construed as misconduct or an ethical. civil.
 or criminal violation. I agree to make such conduct known to the United States Attorney's
 Office and the Court, in writing. as soon as possible, but no later than my sentencing
 hearing.

    5.   Final Matters

        I understand a thorough presentence investigation will be conducted and sentencing
 recommendations independent of the United States Attomey's Office will be made by the
 presentence preparer, which the Court may adopt or take into consideration. I understand
 any calculation regarding the guidelines by the United States Attorney's Office or by my
 attorney is speculative and is not binding upon the Court, the Probation Office or the United
 States Attomey's Office. No guarantee has been made by anyone regarding the elfect of
 the guidelines on my case.

         I understand the prosecution will be free to allocute or describe the nature ol this
 olfense and the evidence in this case and make any recommendations not prohibited by
 this agreement.

         Iunderstand the United States retains the right, notwithstanding any provision in
 this plea agreement, to inform the Probation Of'fice and the Court of all relevant facts. to
 address the Court with respect to the nature and seriousness of the offense(s), to respond
 to any questions raised by the Court, to correct any inaccuracies or inadequacies in the
 presentence report and to respond to any statements made to the Court by or on behalf of
 the defendant.




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         I willingly
                   stipulate there is a sufficient f'actual basis to support each and every
 material factual allegation contained within the charging document(s) to which I am
 pleading guilty.

         I understand this agreement does not apply to any crimes or charges not addressed
 in this agreement. I understand ifl should testily falsely in this or in a related proceeding
 I may be prosecuted for perjury and statements I may have given authorities pursuant to
 this agreement may be used against me in such a proceeding.

         I understand my attorney wilI be fiee to argue any mitigating factors on my behall;
 to the extent they are not inconsistent with the terms olthis agreement. I understand I will
 have an opportunity to personally address the Court prior to sentence being imposed.

         This writing sets forth the entire understanding between the parties and constitutes
 the complete plea agreement between the United States Attomey for the Western District
 of Virginia and me. and no other additional terrns or agreements shall be entered except
 and unless those other terms or agreements are in writing and signed by the parties. This
 plea agreement supersedes all prior understandings. promises. agreements. or conditions,
 if any, between the United States and me.

         I have consulted with my attorney and lully understand all my rights. I have read
 this plea agreement and carefully reviewed every part of it with my attorney. I understand
 this agreement and I voluntarily agree to it. I have not been coerced, threatened, or
 promised anything other than the tenns of this plea agreement, described above. in
 exchange for my plea of guilty. Being aware of all of the possible consequences of my
 plea. I have independently decided to enter this plea o i y own free will, and am affirrning
 that agreement on this date and by my signature

 Date:                 ZZ
                                              M   c a el   Aaron   S   ge' Defendant

         I have fully explained all rights avail ble to m1' client r.vith respect to the of fenses
 listed in the pending charging document(s). I have carefully reviewed every part of this
 plea agreement with my client. To my knorvledge, my client's decision to enter into this
 agreement is an informed and voluntary one.

         Iunderstand I may be present at any contact with my client by any government
 personnel. However. by my signature below, I expressly consent to direct contact with my
 client. without my prior approval. by government personnel. including but not limited to.



                                 Defendant's Initials:
                                                           ,All
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 in regard to the collection ol monetary amounts owed in this and all related matters. At
 any time during such contacts with government personnel. my client may request my
 presence and the contact rvill be suspended until I arrive or indicate that the contact may
 continue.

        If I will continue to represent my client regarding the United States' efforts to collect
 any monetary obligations. I will noti! the United States Attorney's Office. ATTN:
 Financial Litigation Unit. P.O. Box 1709. Roanoke. Virginia 24008-1709. in writing. of
 the fact of my continued legal representation within l0 days of the entry of.judgment in
 this case.


 Date:    3-t3.zz
                                                      Haugh, Esq.
                                                  ounsel for Defendant




 Date: qi
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                                                Whitnev D.     rce
                                                Assistant United States Attorney
                                                Virginia Bar No. 82520




                                    Defendant's Initials:

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